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6                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8                                               NO. CR-05-0166-LRS-1
                         Plaintiff,
9
                  v.                            ORDER DENYING MOTION FOR
10                                              MODIFICATION OF SENTENCE
      TERRY LYGHTS,
11
                         Defendant.
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14        On November 7, 2011, Defendant Terry Lyghts filed, pro se, a “Motion

15   For A Modification of An Imposed Term of Imprisonment Pursuant to 18

16   U.S.C. §3582(C)(2),” ECF No. 109, which motion was not noted for hearing

17   under the applicable Local Rule. On December 30, 2011, the court entered

18   an order directing the government to serve any response to the instant

19   motion.    The government timely filed a response on January 9, 2012.              ECF

20   No. 112.

21                                       BACKGROUND

22        On November 8, 2005, Defendant Lyghts pled guilty to Counts 1 and

23   2 of the Indictment, charging him with Conspiracy to Distribute 50 grams

24   or more of cocaine base, in violation of 21 U.S.C. § 846 and Distribution

25   of 5 grams or more of cocaine base, in violation of 21 U.S.C. §

26   841(a)(1).        The parties entered into a plea agreement wherein the


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1    Defendant agreed to cooperate with the United States in order to mitigate

2    his sentence pursuant to U.S.S.G. § 5K1.1, the substantial assistance

3    provision.    Mr. Lyghts also agreed and stipulated that he was a career

4    offender, pursuant to U.S.S.G. § 4B1.

5         Mr. Lyghts was sentenced by this Court on March 23, 2006. At

6    sentencing, this Court also found, as did the Pre-sentence Report (PSR),

7    Mr. Lyghts to be a career offender under U.S.S.G. §4B1.1.                  See Sealed

8    Attachment B (ECF No. 114-1). As a result, Defendant’s offense level was
9    calculated pursuant to the career offender provision, not the amount of

10   crack cocaine involved in the case. This Court concluded, as did the PSR

11   and the Defendant, that the Defendant’s adjusted offense level was 34,

12   criminal history category VI, resulting in a guideline range of 262-327

13   months.     Defendant complied with his substantial assistance agreement,

14   and as a result, the United States motioned for a downward departure from

15   262 months, to 180 months.       This Court granted the motion for downward

16   departure and sentenced the Defendant to 180 months. Defendant now moves

17   the Court for a reduction of his sentence, pursuant to 18 U.S.C. §

18   3582(c).

19                                      DISCUSSION

20        Defendant seeks modification of his sentence pursuant to two

21   Amendments of the Sentencing Guidelines, Amendments 750 and 706, which

22   are Amendments enacted in response to the Fair Sentencing Act (“FSA”).

23   The government argues that Defendant is not eligible for sentencing

24   modification for two main reasons.            First, Defendant was sentenced 4

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1    years before the enactment of the Fair Sentencing Act,1 therefore the

2    Fair Sentencing Act and Amendment 750, do not apply to Defendant because

3    he was sentenced four years prior to their enactment.

4         Second, Defendant was sentenced based upon application of career

5    offender, not the crack cocaine guidelines, therefore, Amendment 706 and

6    Section 3582(c)(2), also do not apply to Defendant’s sentence.                    The

7    government argues that courts routinely find that career offenders are

8    excluded from the benefits of the crack amendment and its retroactive

9    application.

10

11                                       ANALYSIS

12        Mr. Lyghts asks the Court to reduce his 180 month sentence based on

13   the fact that the Commission has subsequently reduced the sentencing

14   guidelines applicable to crack cocaine offenses, and has also made that

15   reduction retroactively applicable to cases where the original sentence

16   was based on the guidelines that have now been reduced.                   Mr. Lyghts

17   argues that his original sentence was based on the sentencing range

18   applicable to his crack cocaine offense, which has now been reduced.

19        In opposition, the government argues that the sentencing court

20   actually based Lyghts’ sentence on the guideline range applicable to

21   career criminals, rather than the guidelines applicable to crack cocaine

22   offenses and based on a downward departure for substantial assistance.

23   The issue in this case, therefore, is whether Lyghts’ sentence was in

24   fact based on the guideline range applicable to his crack cocaine

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              The Fair Sentencing Act was enacted on August 3, 2010.

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1    offense, which the Commission has subsequently reduced, or was based on

2    the guideline range applicable to career criminals, which the Commission

3    has not reduced.

4         A.     APPLICABLE LAW

5                1. Amendment to Crack Cocaine Sentencing Guidelines

6         On   November   1,    2007,   the     Commission      amended    the   sentencing

7    guidelines for crack cocaine offenses by reducing the base offense level

8    for all crack cocaine offenses in order to address the sentencing

9    disparities between crack and powder cocaine offenses. United States v.

10   Sipai, 582 F.3d 994,996 (9th Cir.2009) (citing U.S.S.G. Amendment 706,

11   711). The sentencing reduction created by the Amendment is applicable

12   only to cases where sentence is pending or is not yet final on appeal.

13   On March 3, 2008, however, the Commission made the amendment to the crack

14   cocaine guidelines retroactively applicable. Id. “ ‘As a general matter,

15   courts may not alter a term of imprisonment once it has been imposed’.”

16   United States v. Wesson, 583 F.3d 728, 730 (9th Cir.2009) (quoting United

17   States v. Hicks, 472 F.3d 1167, 1169 (9th Cir.2007)). “However, 18 U.S.C.

18   § 3582(c)(2) creates an exception ... by allowing modification of a term

19   of imprisonment if: (1) the sentence is ‘based on a sentencing range that

20   has subsequently been lowered by the ... Commission’ and, (2) ‘such a

21   reduction is consistent with applicable policy statements issued by the

22   ... Commission’.”     Wesson, 583 F.3d at 730.

23               2.   Career Criminal Cases

24        The Ninth Circuit has already considered cases where offenders

25   convicted of crack cocaine offenses, and thus subject to the 2D1.1

26   guidelines, also meet the criteria for sentencing as career criminals


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1    under the 4B1.1 guidelines, and now seek sentence reductions based on the

2    Commission's amendments to the crack cocaine guidelines.               In the Wesson

3    case, the Court denied a sentence reduction sought by a crack cocaine

4    offender because the offender had actually been sentenced as a career

5    offender, holding that “a sentencing range calculated under U.S.S.G. §

6    4B1.1 because the defendant was a career offender cannot be ‘based on’

7    a ... range calculated under § 2D1.1 ... the two sentencing schemes are

8    mutually exclusive.” 583 F.3d at 728. Additionally, the decision in the

9    Sipai case, also held that offenders convicted of crack cocaine offenses

10   subject to the Amended 2Dl.1 guidelines cannot obtain sentence reductions

11   based on the amended crack cocaine guidelines where they have been

12   actually sentenced subject to the career criminal guideline of 4B1.1.

13   582 F.3d at 996.

14        If the court determines that the defendant is eligible for career

15   criminal status under § 4B1.1, it must “(1) automatically assign ... a

16   criminal history category of VI, and (2) recalculate the base offense

17   level according to the length of the penalty for the conviction.” United

18   States v. Reyes, 8 F.3d 1379, 1388 (9th Cir.1993). However, if the court

19   decides that use of the defendant's criminal history as a predicate for

20   career criminal status will over-represent that history under U.S.S.G

21   4A1.3, the court may “depart” down from the range applicable to career

22   criminals and sentence the defendant using the range applicable to the

23   underlying offense of conviction.

24        The approach used is particularly important when dealing with

25   retroactive sentencing reduction issues involving crack cocaine offenses

26   because it will determine the guideline range from which the sentencing


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1    court based the defendant's sentence. In such a case, when a court

2    “varies” down from the career criminal guidelines, it is still basing the

3    defendant's sentence on the range applicable to career criminals, and not

4    that which is applicable to crack cocaine offenses. Wesson, 583 F.3d at

5    730; Sipai, 582 F.3d at 995-96.

6         There is a second approach, however, when a court “departs” from the

7    career criminal guidelines because use of a particular defendant's

8    criminal history to create a career criminal status for that defendant

9    will over-represent that criminal history. In such a case, the defendant

10   is not found to be a career criminal and the court will base the

11   defendant's sentence on the guideline range applicable to the underlying

12   crack cocaine offense, and not that which is applicable to career

13   criminals. United States v. McGee, 553 F.3d 225, 227 (2d Cir. Jan.2009).

14        In a number of cases in other circuits, courts have decided that,

15   inasmuch as sentences in such cases are based upon the crack cocaine

16   guidelines    rather   than    the   career     criminal      guidelines,      a   sentence

17   reduction based upon the Commission's amendment of the crack cocaine

18   guidelines    is   appropriate.      McGee    at   229      (citing   United   States    v.

19   Poindexter, 550 F. Supp 2d 578, 580-81 (E.D.Pa.2008); United States v.

20   Ragland, 568 F.Supp.2d. 19, 20 (D.D.C.2008).

21        Career    offenders      have   not   been    successful      in   seeking     reduced

22   sentences when they receive downward departures for providing substantial

23   assistance to the government.          See United States v. Williams, 551 F.3d

24   182, 186-87 (2d Cir. 2009) (explaining that defendants who receive

25   downward departures from career offender guidelines are not eligible for

26   resentencing reductions because courts are not allowed to consider


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1    original crack cocaine guidelines when awarding downward departures for

2    career offenders); United States v. McGee, 553 F.3d 225, 227 (2d Cir.

3    2009) (holding career offenders not eligible for reduced sentences when

4    they do not receive downward departures of any kind); United States v.

5    Forman, 553 F.3d 585 (7th Cir. 2009) (same); United States v. Sharkey,

6    543 F.3d 1236, 1237 (10th Cir. 2008); United States v. Moore, 541 F.3d

7    1323, 1330 (11th Cir. 2008)(stating district court provided no indication

8    that defendant's sentence was based on crack cocaine guidelines rather

9    than career offender guidelines).

10             The sentencing jurisprudence in most circuits does not allow judges

11   to consider the original crack cocaine guidelines when granting such

12   downward departures.2 Instead, when granting this type of departure, the

13   majority of circuits only allow the judge to consider factors related to

14   the       defendant's    substantial   assistance          to   the   government.3   This

15   restriction has prevented defendants from being able to show that their

16   sentences were “based on” the crack cocaine guidelines in any way,

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           2
18             See Williams, 551 F.3d at 186-87 (explaining courts are not allowed

19   to consider original crack cocaine guidelines when granting departures

20   from career offender guidelines).
               3
21                 See United States v. Doe, 564 F.3d 305, 315 n.1 (3d Cir. 2009)

22   (Fuentes, J., concurring) (explaining that all other circuits that have
23   addressed issue concluded that maximum extent of substantial assistance
24   departure may be based only on defendant's substantial assistance).
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1    putting them in the same category as career offenders who receive no

2    downward departure at all.

3         In the instant case, the sentence was clearly “based on” the

4    applicable career offender Guidelines range and a substantial assistance

5    motion for downward departure. Because Defendant was sentenced as a

6    Career Offender, his guideline range is unaffected by Amendment 706. In

7    other words, the enhanced offense level of 34 for being a Career Offender

8    is not subject to the two level departure authorized by Amendment 706.

9                                       CONCLUSION

10        For the reasons set forth above, Amendment 706 does not have the

11   effect of lowering Defendant's applicable guideline range. Hence, a

12   reduction of Defendant's sentence is not authorized under § 3582(c)(2).

13   Accordingly, Defendant's Motion For Modification, ECF No. 109, is DENIED.

14        IT IS SO ORDERED. The District Court Executive is directed to enter

15   this order and to provide copies to counsel and Mr. Lyghts.

16        DATED this     9th    day of March, 2012.

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18                                   s/Lonny R. Suko

19                                     LONNY R. SUKO
                               United States District Judge
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